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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Civil Action No. 23-cv-03014-NYW-JPO

  TINA PETERS,

          Plaintiff,

  v.

  UNITED STATES OF AMERICA,
  MERRICK B. GARLAND, in his official capacity as Attorney General of the United States, and
  DANIEL P. RUBINSTEIN, in his official capacity as District Attorney for the Twenty-First
  Judicial District,

          Defendants.


                                 AMENDED FINAL JUDGMENT


          In accordance with the orders filed during the pendency of this case, and pursuant to Fed.

  R. Civ. P. 54(b), the following Amended Final Judgment is hereby entered.

          Pursuant to the Order of United States District Judge Nina Y. Wang entered on January

  30, 2024 [Doc. 55], it is

          ORDERED that Plaintiff’s Motion for Rule 54(b) Certification [Doc. 46] is GRANTED.

  It is

          FURTHER ORDERED that the Court hereby CERTIFIES that its January 8, 2024, Order

  on Motion to Dismiss [Doc. 39] is a final judgment for purposes of Rule 54(b) of the Federal

  Rules of Civil Procedure, and there is no just reason for delaying an appeal. It is

          FURTHER ORDERED that an amended final judgment is hereby entered in favor of

  Defendant Daniel P. Rubinstein and against Plaintiff Tina Peters pursuant to the Court’s Rule

  54(b) certification. It is
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         FURTHER ORDERED that Defendant Daniel P. Rubinstein shall have his costs by the

  filing of a Bill of Costs with the Clerk of this Court within fourteen days of the entry of

  judgment, pursuant to Fed. R. Civ. P. 54(d)(1) and D.C.COLO.LCivR 54.1.

         Dated at Denver, Colorado this 30th day of January, 2024.

                                                FOR THE COURT:
                                                JEFFREY P. COLWELL, CLERK

                                                By: s/Emily Buchanan
                                                Emily Buchanan, Deputy Clerk
